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                               IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION




   GOLDEN BETHUNE-HILL, et al.,
                                                       Civil Action No. 3:14-cv-00852-REP-
                           Plaintiffs,                 GBL-BMK
                      v.

   VIRGINIA STATE BOARD OF ELECTIONS,
   et al.,

                           Defendants,

                      v.

   VIRGINIA HOUSE OF DELEGATES, et al.,

                           Intervenor-Defendants.



                                         PLAINTIFFS’ TRIAL BRIEF




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                                       I.      INTRODUCTION

           This action arises from the Equal Protection Clause of the Fourteenth Amendment to the

   United States Constitution, which indisputably forbids race-based redistricting absent a

   compelling state interest and, even then, only when narrowly tailored to meet that state interest.

           In its 2011 House of Delegates redistricting plan, the Virginia General Assembly sorted

   voters by race into House districts 63, 69, 70, 71, 74, 75, 77, 80, 89, 90, 92, and 95 in order to

   meet or exceed a predetermined 55% threshold of Black voting age population (“BVAP”) in

   each district. The author of the redistricting plan, Delegate Chris Jones, argued that the Voting

   Rights Act (“VRA”) required that overt racial sorting of voters. But merely invoking the VRA

   does not shield race-based redistricting from constitutional scrutiny. And here, it underscores the

   General Assembly’s intense focus on the racial composition of these districts. Thus, Plaintiffs

   will easily meet their burden of showing that race was the predominant consideration when the

   General Assembly drew the districts.

           In contrast, Defendants and Intervenors (collectively, “Defendants”) cannot possibly

   justify their race-based decisions under the exacting strict scrutiny standard. There is no evidence

   that the VRA required the map-drawers to apply the same racial floor to all 12 districts. In fact,

   the evidence will show significant differences between the districts. The map-drawers failed to

   recognize those differences, however, because they did not conduct any analysis of (or even

   inquiry into) the racial voting patterns, electoral history, or other unique features of each

   individual district. There is simply no legal precedent justifying the use of a fixed racial target

   under these circumstances. To the contrary, the Supreme Court has emphatically held that

   legislatures violate the Equal Protection Clause when they “rel[y] heavily upon a mechanically

   numerical view as to what counts as forbidden retrogression.” Ala. Legislative Black Caucus v.

   Alabama, 135 S. Ct. 1257, 1273 (2015).

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           That is precisely what happened here.

           Plaintiffs respectfully request that this Court invalidate House districts 63, 69, 70, 71, 74,

   75, 77, 80, 89, 90, 92, and 95 and ensure that constitutional districts are adopted for the

   upcoming House of Delegates elections.

                             II.     EXPECTED EVIDENCE AT TRIAL

   A.      Background

           As a result of the 2010 census, Virginia was required to redraw its House of Delegates

   districts to balance population totals within each district. That task was taken up by Delegate

   Chris Jones, a member of the House of Delegates who had been deeply involved in Virginia’s

   last redistricting cycle. See Plaintiff’s Exhibit (“Pl. Ex.”) 35 at 46:18-48:21.

           On April 11, 2011, the House and Senate adopted HB 5001. The legislation included a

   redistricting plan for Virginia’s House districts (authored by Delegate Jones) and a redistricting

   plan for Virginia’s Senate districts (which originated in the Senate). See Pl. Ex. 48 at 10.

   Governor McDonnell vetoed HB 5001 based on his objections to the Senate plan. See id. The

   House and Senate subsequently adopted HB 5005, which included a substantially similar House

   plan (again authored by Delegate Jones) and a significantly revised Senate plan. See id. 10-11.

   Governor McDonnell signed HB 5005 (the “Enacted Plan”) on April 29, 2011. See id. at 12.

           Like the plan adopted in 2001 (the “Benchmark Plan”), the Enacted Plan includes 12

   districts in which Blacks are a majority of the voting age population: House districts 63, 69, 70,

   71, 74, 75, 77, 80, 89, 90, 92, and 95 (the “Challenged Districts”). Pl. Ex. 45 at 1. When the

   Benchmark Plan was adopted in 2001, BVAP in the Challenged Districts ranged from 53.4% to

   59.7%. See id at tbl. 5.1. Immediately before the Enacted Plan was passed, BVAP in the

   Challenged Districts ranged from 46.3% to 62.7%. See id. Under the Enacted Plan, BVAP in all

   of the Challenged Districts exceeds 55%. See id.

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   B.      The Record Is Replete With Direct and Circumstantial Evidence that Race Was the
           Predominant Consideration in the Drawing of the Challenged Districts

           1.         The Direct Evidence of Racial Predominance Is Overwhelming

           In most racial gerrymandering cases, determining whether race predominated or not

   requires careful scrutiny of circumstantial evidence—the shape of districts; deviations from

   contiguity; split precincts, cities or counties; and similar markers that might suggest that race

   played a central role. But that type of indirect evidence pales almost to irrelevance where, as

   here, overwhelming direct evidence shows that the legislature employed a mechanical racial

   threshold to sort voters by the color of their skin into electoral districts. That direct evidence of

   race-based redistricting emphatically answers one of the central questions in this case: whether

   race was the predominant consideration in the drawing of the Challenged Districts.1

                      a.    The House Criteria Illustrate the Primacy of Race

           Before any redistricting plans were introduced in the House, the House Committee on

   Privileges and Elections adopted official criteria to govern the redistricting process. See Pl. Ex.

   16 (the “House Criteria”). Notably, the House Criteria were proposed by Delegate Jones—the

   undisputed architect of the Enacted Plan. Delegate Jones later confirmed that he dutifully

   followed the House Criteria in drawing the Enacted Plan, including the Challenged Districts. See

   Pl. Ex. 40 at 46:1-3 (“[I]n putting this plan together, we tried to make sure that the criteria was

   followed, and I think it was.”).




           1
             Plaintiffs have attached as an Appendix to this Trial Brief selected excerpts from their
   proposed trial exhibits, with key passages highlighted for the convenience of the Court.
   Complete copies of these exhibits are contained in Plaintiffs’ proposed trial exhibits, a list of
   which is filed contemporaneously with this Trial Brief. As discussed at the pretrial conference,
   Plaintiffs’ counsel anticipates that all of these exhibits (as well as those proposed by Defendants
   and Intervenors) will be admitted into evidence by way of a stipulation, although that stipulation
   has not yet been finalized.

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           The House Criteria clearly describe the House’s legislative priorities. “Population

   Equality” among districts is the first and most important priority. See Pl. Ex. 16 at 1

   (“The population of each district shall be as nearly equal to the population of every other district

   as practicable.”). The second priority is avowedly racial. Titled “Voting Rights Act,” it requires

   that “[d]istricts shall be drawn” to avoid “the unwarranted retrogression or dilution of racial or

   ethnic minority voting strength.” See id.

           All other redistricting considerations and principles—including compactness,

   incumbency protection, “voting trends,” and “political beliefs”—are subordinate to those two

   prime directives. See id. at 1-2. Indeed, to avoid any doubt on that score, the House Criteria

   declared the primacy of the one-person, one-vote principle and the VRA not once but twice. See

   id. (“Nothing in these guidelines shall be construed to require or permit any districting policy or

   action that is contrary to . . . the Voting Rights Act of 1965.”); id. at 2 (stating, in a section titled

   “Priority,” that “population equality among districts and compliance with federal and state

   constitutional requirements and the Voting Rights Act of 1965 shall be given priority in the event

   of conflict among the criteria”).

                      b.   Statements by the Delegates Demonstrate That Race Played a
                           Predominant Role in the Design of The Challenged Districts

                           (i)     Statements by Delegate Jones

           Delegate Jones, the author of the House Criteria and the Enacted Plan, repeatedly

   emphasized that race was central to his redistricting decisions. At one early hearing, for example,

   Delegate Jones explained that population equality and complying with the VRA were “the most

   important things to [him] as [he] drew this map.” Pl. Ex. 35 at 35:15-18 (emphasis added). That

   was no slip of the tongue. In fact, Delegate Jones repeated the same sentiment several times. See,

   e.g., id. at 45:21-46:4 (“[T]he most important thing for me and for us is the principle that one-


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    person, one-vote and compliance with the Voting Rights Act and I am confidence [sic] that what

    is before us does exactly that.”); id. at 81:11-13 (“I was trying to put together a map and a plan

    that would meet those two tenants [sic]; the one-person, one-vote and the Voting Rights Act.”);

    id. at 121:6-11 (“[B]ut I will say . . . the bill that is before this body, does two things and I think

    it does two things well. It represents the one-person, one-vote and it further complies with the

    Voting Rights Act[.]”).2

            Equally important, Delegate Jones made clear that compliance with the VRA outweighed

    all other race-neutral considerations (except for population equality). See id. at 56:2-4 (Delegate

    Jones explaining that “communities of interest, while important . . . were not the overarching

    driver of this plan”); id. at 137:9-19 (“I would just let the gentleman know that . . . we in the

    [Privileges and Elections] Committee had communities of interest, Number 5 [in the House

    Criteria]. . . . Number 2 is compliance with the Voting Rights Act.”); id. at 138:21-139:1 (“I

    would say to the gentleman that again compactness . . . was Number 3 on the list.”).

                            (ii)    Statements by Other Delegates

            Delegate Jones was hardly alone in expressing these views. To the contrary, many of his

    colleagues were equally forthright about the centrality of race in the 2010-11 redistricting cycle,

    particularly with respect to the Challenged Districts.

            For example, evidence at trial will show that Delegate Jones relied heavily on certain

    delegates, including Delegate Lionell Spruill and former Delegate (now Senator) Rosalyn Dance,

    to help him draw the Challenged Districts or communicate with affected delegates. The views of

    Senator Dance and Delegate Spruill are therefore especially probative. And both publicly
            2
              Further underscoring his focus on race at that hearing, Delegate Jones criticized
    redistricting maps created by university students, see id. at 39:15-40:1-6; 40:18-41:5, and
    redistricting maps created by Governor McDonnell’s Bipartisan Advisory Redistricting
    Commission, see id. at 69:12-70:10, mainly because, in his view, those maps did not impose high
    enough BVAP levels in their majority-minority districts.

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    acknowledged the central importance of race in the configuration of the Challenged Districts. See

    Pl. Ex. 35 at 148:4-7 (Delegate Spruill praising Delegate Jones because “[w]hat other plan, what

    other group has come to the Black Caucus and [said], ‘Hey, we have a plan to increase the black

    minority votes. We have a plan to make sure that you’re safe.’”); id. at 157:2-11 (then-Delegate

    Dance advocating for HB 5001 because “it does support the 12 minority districts that we have

    now and it does provide that 55 percent voting strength that I was concerned about”).

            Consistent with her contemporaneous statements, Senator Dance will testify at trial that

    race was the predominant consideration in the drawing of the Challenged Districts, and in

    particular that it was her paramount concern when collaborating with Delegate Jones on draft

    maps. Delegate Jennifer McClellan—another legislator who worked closely with Delegate Jones

    in drawing the Challenged Districts—will offer similar testimony, as will former delegate and

    minority leader Ward Armstrong.

                       c.   The Use of a “Nonnegotiable” Racial Threshold Vividly Demonstrates
                            that Race Played a Predominant Role in the Design of the Challenged
                            Districts

            Just weeks ago, a three-judge court in this district found that the Virginia General

    Assembly used a “55% BVAP floor” to draw Virginia’s Congressional District 3 and the

    Challenged Districts. Page v. Va. St. Bd. of Elections, No. 3:13cv678, 2015 WL 3604029, at *9

    (E.D. Va. June 5, 2015) (“Page II”). In reaching that conclusion, the Page II court relied on the

    report of the Page II defendants’ expert John Morgan, who freely admitted that the House

    enacted “‘a House of Delegates redistricting plan with a 55% Black VAP as the floor for black-

    majority districts.’” Id. (quoting Pl. Ex. 52 at 26).3




            3
             Mr. Morgan has been identified as a fact witness in this case, likely to be called by the
    Intervenors during their case in chief.

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            The admission in Mr. Morgan’s report is more than enough to establish the existence of

    the 55% BVAP threshold in this case. But the additional evidence confirming that racial rule is

    frankly overwhelming. The evidence at trial will show that Delegate Jones embraced and

    defended the 55% threshold at every turn—in private email, in committee hearings, and on the

    floor of the House of Delegates. See, e.g., Pl. Ex. 35 at 42:8-12 (Delegate Jones explaining to his

    colleagues on the House floor that “[w]e had to keep the core of those [Challenged Districts],

    because I think that’s very important, and because of the population shifts you did see a decrease

    in some of the percentages, but all were above 55 percent”) (emphasis added).

            Delegate Jones’ remarks during a April 5, 2011 floor debate are especially revealing.

    There, Delegate Jones openly advocated for the 55% BVAP threshold, arguing that “the effective

    voting age population [in the Challenged Districts] needed to be north of 55 percent” in order to

    comply with the VRA. Id. at 70:7-9 (emphasis added). Thus, Delegate Jones assured his

    colleagues, he had drawn each of the Challenged Districts to “fully compl[y] with the Voting

    Rights Act as 55 percent or higher.” Id. at 66:11-14 (emphasis added). As a result, “every single,

    solitary district majority-minority is over 55 percent.” Id. at 108:3-4 (emphasis added).

            It is undisputed that Delegate Jones did not conduct any analysis to determine whether

    the 55% BVAP threshold was necessary or appropriate in any of the Challenged Districts. See id.

    at 54:18-55:4 (“DEL. ARMSTRONG: Can the gentleman tell me whether he or any persons that

    worked with him . . . took into account any retrogress[ion] analysis regarding minority

    performance in any of the 12 majority-minority districts . . . ? DEL. JONES: I would say to the

    gentleman I’m not aware of any.”). Nevertheless, Delegate Jones treated that racial threshold as a

    nonnegotiable, bright-line rule. For example, when asked whether he “distinguish[ed] as there

    being a difference between a 55 BVAP versus a 53 BVAP? . . . That is, does the gentleman



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    consider that a significant difference?,” id. at 113:3-8, Delegate Jones replied: “I would say

    yes[.]” Id. at 113:11.

            Delegate Jones’ private communications are equally candid. For example, in early April

    2011, Delegate Jennifer McClellan asked to “unsplit,” or keep whole, certain precincts in the

    Richmond area. Delegate McClellan made the request on behalf of local election officials who

    thought the splits complicated election administration. But in trying to draw a map that “unsplit”

    those precincts, Delegate McClellan inadvertently dropped the BVAP in Challenged District 71

    below Delegate Jones’ predetermined 55% BVAP floor. Upon discovering that result, Delegate

    Jones rejected the change. As Delegate McClellan later explained to one of the interested

    election officials: “I spoke to Chris Jones . . . . Apparently, the changes we discussed . . . would

    have pushed the voting age African American population in the 71st District down to 54.8%. The

    target criteria was 55%, so the change can’t be made.” Pl. Ex. 30 (emphasis added). The

    election official replied: “Darned . . . . . so close and yet so far away! A measly 0.2%!” Id.

            Later, in an email titled “F/up” sent to the chief of staff for Speaker William Howell,

    Delegate Jones confirmed Delegate McClellan’s version of events:

            I followed up with Jennifer McClellan this afternoon and she reconfirmed that the
            request of the [election officials] exceeded the 55% threshold when they did [it]
            for all affected districts and that she would have never requested it if it didn’t. I
            am not sure what got lost in translation, but the good news is it is fixed now[.]

    Id. (emphasis added).4

            While Delegate Jones’ statements are conclusive, this Court need not rely on them alone.

    Evidence at trial will show that the 55% BVAP threshold was common knowledge among


            4
             Delegate Jones may testify that some of these split precincts were “unsplit” in the final
    version of the Enacted Plan because he found ways to keep the precincts whole while still
    maintaining at least a 55% BVAP threshold in surrounding districts. At most, however, that
    shows that Delegate Jones was willing to accommodate traditional, race-neutral redistricting
    principles only to the extent that they could be reconciled with the 55% BVAP threshold.

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    legislators. For example, consistent with the exchange above, Delegate McClellan will testify

    that she discussed the 55% BVAP threshold with Delegate Jones on many occasions; that the 55%

    figure was fixed and “nonnegotiable”; and that the 55% BVAP threshold was a “primary

    consideration” in drawing the Challenged Districts. Delegate McClellan will also testify that she

    intentionally altered electoral boundaries in draft maps submitted to Delegate Jones to ensure

    that those maps complied with the 55% BVAP threshold. Similarly, Senator Dance will testify

    that Delegate Jones instructed her to comply with the 55% rule in drawing draft maps, and that

    she also understood the 55% threshold to be inflexible and “nonnegotiable.”

            Senator Jill Holtzman Vogel, too, explicitly acknowledged the 55% rule during floor

    debates in the Virginia Senate. See Pl. Ex. 39 at 33:4-6 (“But [the map-drawers in the House of

    Delegates] clearly believed that was the law, because if you look at the House Plan, they were

    careful not to retrogress below 55 percent[.]”). Like Delegate Jones, Senator Vogel apparently

    thought that the VRA demanded a fixed numerical percentage of BVAP throughout the

    Commonwealth. See id. at 33:17-20 (“And in the Commonwealth of Virginia right now in the

    Senate, 55 percent is the benchmark.”). Moreover, she insisted that the U.S. Department of

    Justice had never precleared a plan with less than 55% BVAP. See id. at 18:13-16 (“The lowest

    amount of African Americans . . . that has ever been precleared . . . is 55.0”).5

            The direct evidence of a racial threshold is, in short, widespread and conclusive.

            2.         The Circumstantial Evidence of Race-Based Redistricting Is Equally Strong

            Given the overwhelming direct evidence that race was the predominant consideration in

    the drawing of the Challenged Districts, there is little need to examine circumstantial evidence
            5
             Senator Vogel’s statements were not only incorrect as a general rule (the Department of
    Justice has specifically disavowed specific numerical percentages), but they were also incorrect
    as to Virginia itself, where numerous districts have been precleared with less than 55% BVAP.
    See Pl. Ex. 45, tbl. 5.1. Putting aside the historical facts, it is now clear that adopting a state-wide
    BVAP threshold is flatly forbidden, as the Supreme Court made abundantly clear in Alabama.

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    bearing on the same issue. In any event, the circumstantial evidence is equally strong and only

    confirms what the direct evidence has already made obvious: race predominated and trumped all

    other considerations.

                       a.     Compactness and Respect for Political Boundaries

            Lack of compactness often provides circumstantial evidence of race-based redistricting.

    See, e.g., Shaw v. Reno (“Shaw I”), 509 U.S. 630, 646-47 (1993). Here, Plaintiffs’ expert

    Professor Stephen Ansolabehere will testify that the Enacted Plan is significantly less compact

    than its predecessor.

            The difference is especially stark with respect to the Challenged Districts. As Professor

    Ansolabehere will explain, under the commonly accepted Reock measure of compactness, the

    Enacted Plan reduces the average compactness of the Challenged Districts from .37 to .32—a

    13.5% reduction. The reduction in the other 88 districts is far smaller. See Pl. Ex. 50 at 17.

    Professor Ansolabehere will also testify that:

                      The Enacted Plan reduces the compactness of most of the Challenged
                       Districts and makes one of the Challenged Districts (Challenged District
                       95) the least compact district in the Enacted Plan;

                      The Enacted Plan reduces the compactness of Challenged Districts 74, 77,
                       and 95 to “extremely low” levels; and

                      The Enacted Plan results in “extremely large reductions” in the
                       compactness of Challenged Districts 63, 80, 89, and 95.

    Id. at 17, 18. Moreover, Professor Ansolabehere will testify that the Enacted Plan increased the

    number of split political boundaries. In particular, the Enacted Plan “increased the splitting of

    county boundaries in the areas covered by the Challenged Districts,” id. at 20, and “increase[d]

    the number of [Voting Tabulation Districts (“VTDs”)] that are split . . . , both statewide and

    among the VTDs in the Challenged District,” id. at 21.



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            With the exception of minor methodological disputes, none of Defendants’ experts will

    disagree with those conclusions. See Pl. Ex. 51 at 3.

                       b.     Racial Sorting

            Professor Ansolabehere will also show that the General Assembly resorted to extensive

    racial sorting to ensure that all of the Challenged Districts met or exceeded the predetermined

    55% BVAP threshold. For example, Professor Ansolabehere will testify that:

                      The BVAP in VTDs moved into the Challenged Districts is far higher than
                       the BVAP in VTDs moved out of the Challenged Districts. See Pl. Ex. 50
                       at 27-37.

                      The partisan differences between the VTDs moved into and out of the
                       Challenged Districts are much smaller than the racial differences between
                       the same VTDs. See id. at 38-43.

                      Race is a strong predictor of which VTDs were placed in Challenged
                       Districts and which were not. “Party,” on the other hand, “is not a
                       statistically significant predictor of whether a VTD is included in one of
                       the Challenged Districts[.]” Id. at 43 (emphasis added).

    Here again, with the exception of minor methodological disputes, Defendants’ experts will not

    disagree with Professor Ansolabehere. See Pl. Ex. 51 at 3-4.

    C.      The General Assembly’s Use of Race Was Not Narrowly Tailored

            Finally, evidence will show that the General Assembly’s use of a rigid racial threshold

    was not narrowly tailored to advance a compelling state interest.

            As explained above, the General Assembly subjected all of the Challenged Districts to

    the same predetermined 55% BVAP threshold. Remarkably, however, it made no effort to

    determine whether that threshold was actually necessary to avoid retrogression in any of the

    Challenged Districts. Delegate Jones did not conduct or review any racially polarized voting

    analyses or similar statistical analyses to arrive at the 55% figure, as he will candidly admit. See

    Pl. Ex. 35 at 54:18-55:4 (“DEL. ARMSTRONG: Can the gentleman tell me whether he or any


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    persons that worked with him in the development of the plan that resulted in HB 5001 took into

    account any retrogress[ion] analysis regarding minority performance in any of the 12 majority-

    minority districts . . . ? DEL. JONES: I would say to the gentleman I’m not aware of any.”). Nor

    did he consult other resources, or do any other type of analysis, to determine whether that

    particular figure was justified. For example, Delegate Jones will admit that he didn’t review the

    contemporaneous redistricting plan for Virginia Senate districts, or review maps or election

    results from Virginia’s prior redistricting cycles to evaluate their BVAP levels and compare them

    to the electoral results on a district-specific (or any other) basis, or review maps or election

    results from other jurisdictions to examine their BVAP levels and election results, or review

    maps from other jurisdictions that had been precleared (or rejected) by DOJ. His lack of interest

    in such a review is, indeed, striking.

            In short, although covered jurisdictions often perform racially polarized voting analyses

    or comparable “functional” analyses of voting behavior, and although such analyses are

    specifically discussed in the Department of Justice’s Section 5 guidance, see Pl. Ex. 9, Delegate

    Jones performed no analysis whatsoever to determine whether the 55% BVAP threshold was

    “reasonably necessary ‘in order to maintain the minority’s present ability to elect the candidate

    of its choice[.]’” Bethune-Hill v. Va. St. Bd. of Elections, No. 3:14cv852, 2015 WL 3404869, at

    *11 (E.D. Va. May 26, 2015) (quoting Alabama, 135 S. Ct. at 1274).

            Instead, Delegate Jones selected the 55% figure based on input from (unnamed)

    community members and a small number of delegates. See Pl. Ex. 35 at 169:11-15 (“The number

    that we have before us that has been called arbitrary was gleaned from testimony of the

    community[.]”). But nothing in the record indicates why those particular individuals believed that




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    a 55% BVAP threshold was necessary to avoid retrogression in their districts—let alone all of

    the Challenged Districts. And Delegate Jones never asked them.

            At trial, Professor Ansolabehere will offer a district-by-district analysis of racial voting

    patterns in the Challenged Districts—precisely the sort of analysis Delegate Jones did not do. He

    will reach two crucial conclusions. First, he will conclude that racial voting patterns vary

    dramatically across the Challenged Districts, thereby undermining the map-drawers’ one-size-

    fits-all-approach. See Pl. Ex. 50 at 47-51. Second, he will explain that “none” of the Challenged

    Districts “required a BVAP in excess of 55 percent in order to ensure that African Americans

    had the ability to elect their preferred candidates.” Id. at 53-54.

            Defendants’ experts will not dispute those conclusions. Indeed, Defendants’ expert,

    Dr. Katz, will concede that there were significant differences between each of the districts and

    his analysis, in fact, demonstrates those differences and largely serves to confirm Dr.

    Ansolabehere’s conclusions.

                                            III.   ARGUMENT

    A.      Racial Gerrymandering Is Indisputably Unconstitutional

            “As with any law that distinguishes among individuals on the basis of race, ‘equal

    protection principles govern a State’s drawing of [electoral] districts.’” Page II, 2015 WL

    3604029, at *6 (quoting Miller v. Johnson, 515 U.S. 900, 905 (1995)). As the Supreme Court has

    explained:

            Racial classifications with respect to voting carry particular dangers. Racial
            gerrymandering, even for remedial purposes, may balkanize us into competing
            racial factions; it threatens to carry us further from the goal of a political system
            in which race no longer matters[.]

    Shaw I, 509 U.S. at 657. Thus, “race-based districting by our state legislatures demands close

    judicial scrutiny.” Id.


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            “To successfully challenge the constitutionality of the [Challenged Districts] under the

    Equal Protection Clause, Plaintiffs first bear the burden of proving that the legislature’s

    predominant consideration in drawing its electoral boundaries was race.” Page II, 2015 WL

    3604029, at *6. “If they make this showing, the assignment of voters according to race triggers

    the court’s ‘strictest scrutiny.’” Id. (quoting Miller, 515 U.S. at 915). The burden then shifts to

    Defendants “to demonstrate that the redistricting plan was narrowly tailored to advance a

    compelling state interest.” Id. A race-based redistricting plan is narrowly tailored only if “the

    legislature [has] a strong basis in evidence in support of the (race-based) choice that it . . . made.”

    Alabama, 135 S. Ct. at 1274 (internal quotation marks and citation omitted).

            Here, the evidence shows that racial goals overshadowed all others. Moreover,

    Defendants cannot establish that they used race to advance a compelling state interest. And even

    if they could, they could not possibly show that they had a “strong basis in evidence” for

    employing a predetermined, across-the-board 55% BVAP threshold. The Challenged Districts,

    accordingly, fail to pass constitutional muster.

    B.      Race Was the Predominant Consideration in Drawing the Challenged Districts

            “The Supreme Court has cited several specific factors as evidence of racial line drawing.”

    Page II, 2015 WL 3604029, at *7. Those factors include “statements by legislators indicating

    that race was a predominant factor in redistricting,” “evidence that race or percentage of race

    within a district was the single redistricting criterion that could not be compromised,” the

    “creation of non-compact and oddly shaped districts beyond what is strictly necessary to avoid

    retrogression,” and “creation of districts that exhibit disregard for city limits, local election

    precincts, and [VTDs].” Id. Here, as in Page II, “all of these factors are present,” id., and race

    was plainly the predominant consideration in the drawing of the Challenged Districts.



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            1.         The Record Includes Numerous “Statements by Legislators Indicating that
                       Race Was a Predominant Factor in Redistricting”

            In Page II, the court concluded that race predominated largely because the “legislative

    record [was] replete with statements indicating that race was the legislature’s paramount

    concern.” Id. at *8. Here, the legislative record is even more compelling.

            First, the House Criteria show that race was the General Assembly’s paramount concern.

    The House Criteria—the House’s lone official expression of its redistricting priorities—

    expressly identify “compliance with Section 5 of the VRA . . . , and, accordingly, consideration

    of race” as an important requirement. Id. at *1. Indeed, in terms of importance, only population

    equality among districts outranks the VRA in the House Criteria. See Pl. Ex. 16 at 1.

            But as the Supreme Court recently explained, “an equal population goal is not one factor

    among others to be weighed against the use of race to determine whether race ‘predominates’”;

    instead, “it is part of the redistricting background, taken as a given, when determining whether

    race, or other factors, predominate in a legislator’s determination as to how equal population

    objectives will be met.” Alabama, 135 S. Ct. at 1270. Thus, for purposes of the predominance

    analysis, this Court must ignore the reference to population equality in the House Criteria. It

    follows that the most important requirement in the House Criteria is a racial requirement:

    namely, complying with the VRA. See Pl. Ex. 16 at 1. That official endorsement of race-based

    redistricting amounts to “a candid acknowledgment” that race predominated in the drawing of

    the Challenged Districts, Page II, 2015 WL 3604029, at *8, and leaves little doubt that race “was

    uppermost in the minds of Virginia’s legislators” when they drew those districts, id. at 22 n.15.

            Second, Delegate Jones—the architect of the Challenged Districts—routinely

    emphasized the importance of race both publicly and privately. Indeed, according to

    Delegate Jones, complying with the VRA was “the most important thing[] to [him] as [he] drew


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    this map” (not counting the background principle of population equality). Pl. Ex. 35 at 35:15-

    35:18 (emphasis added). He also candidly acknowledged that other considerations took a

    backseat to that racial goal. See id. at 56:2-4 (stating that “communities of interest, while

    important . . . were not the overarching driver of this plan”); id. at 137:9-19 (“I would just let the

    gentleman know that . . . we in the [Privileges and Elections] Committee had communities of

    interest, Number 5. Because Number 1 was one-person, one-vote. Number 2 is compliance with

    the Voting Rights Act.”); id. at 138:21 (noting that “compactness . . . was Number 3 on the list”).

            In Page II, the court concluded that race predominated in part because Delegate William

    Janis, the author of the challenged congressional district, stated on the House floor that avoiding

    retrogression was his “primary focus,” his “paramount concern,” and a “nonnegotiable”

    requirement. Page II, 2015 WL 3604029, at *9, *10 (internal quotation marks and citations

    omitted). Here, Delegate Jones’ statements to that effect are even more categorical. Thus, as in

    Page II, this Court should “accept the explanation of the legislation’s author as to its purpose”

    and conclude that race predominated in the drawing of the Challenged Districts. Id. at *10.

            Third, this Court may look to statements by other legislators to discern whether race

    predominated. Other delegates did more than acknowledge Delegate Jones’ race-based approach;

    they applauded it. For example, Delegate Lionell Spruill urged his colleagues to vote in favor of

    HB 5001 because (according to Delegate Spruill) Delegate Jones told Delegate Spruill that “we

    have a plan to increase the black minority votes. We have a plan to make sure you’re safe.” Pl.

    Ex. 35 at 148:5-7. Similarly, then-Delegate Rosalyn Dance, another legislator who worked

    closely with Delegate Jones in drawing the Challenged Districts, urged her colleagues to vote for

    HB 5001 because “it does support the 12 minority districts that we have now and it does provide

    that 55 percent voting strength that I was concerned about.” Id. at 157:2-11.



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            Faced with unambiguous legislative statements like these, courts routinely hold that race

    predominated in electoral line-drawing. See, e.g., Bush v. Vera, 517 U.S. 952, 961 (1996) (race

    predominated where “testimony of individual state officials confirmed that the decision to create

    the districts now challenged as majority-minority districts was made at the outset of the process

    and never seriously questioned”); Page II, 2015 WL 3604029 , at *9 (race predominated where

    author of challenged district stated that he was “most especially focused” on complying with the

    VRA when drawing challenged district); Smith v. Beasley, 946 F. Supp. 1174, 1194 (D.S.C.

    1996) (race predominated where legislator stated that “any amendment [to a challenged district]

    could not go below 60% [Black population] and 57% BVAP”).

            This Court should do the same.

            2.         There Is Indisputable “Evidence that Race or Percentage of Race Within a
                       District Was the Single Redistricting Criterion that Could Not Be
                       Compromised”

            As explained above, evidence at trial will show that the General Assembly used a

    55% BVAP threshold to draw the Challenged Districts. See, e.g., Pl. Ex. 35 at 42:8-12 (Delegate

    Jones explaining that “because of the population shifts you did see a decrease in some of the

    [BVAP] percentages [in the Challenged Districts], but all were above 55 percent”) (emphasis

    added); id. at 66:10-14 (Delegate Jones arguing that HB 5001 “fully complies with the Voting

    Rights Act as 55 percent [BVAP] or higher”) (emphasis added); id. at 70:7-9 (Delegate Jones

    arguing that “the effective voting age population [in the Challenged Districts] needed to be north

    of 55 percent”) (emphasis added); id. at 108:3-4 (Delegate Jones explaining that “every single,

    solitary district majority-minority is over 55 percent”) (emphasis added).

            Evidence will also show that both Delegate Jones and his colleagues considered that

    racial threshold to be nonnegotiable. And in fact, it appears that Defendants now admit as much.

    See Pl. Ex. 68 at 28:10-15 (Intervenors’ counsel arguing that the “55 percent number doesn’t

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    come from thin air. It comes from testimony before the House of Delegates. That’s to find

    numbers needed to be able to create functioning minority districts.”).

            As the Supreme Court recently explained, using a predetermined racial target or threshold

    to draw electoral boundaries triggers strict scrutiny:

            That Alabama expressly adopted and applied a policy of prioritizing mechanical
            racial targets above all other districting criteria (save one-person, one-vote)
            provides evidence that race motivated the drawing of particular lines in multiple
            districts in the State.

    Alabama, 135 S. Ct. at 1267. Nor is that a novel rule. Time and again, the Supreme Court has

    subjected rigid racial quotas to strict scrutiny in the redistricting context. See Bush, 517 U.S. at

    996 (Kennedy, J., concurring) (“[W]e would no doubt apply strict scrutiny if a State decreed that

    certain districts had to be at least 50 percent white, and our analysis should be no different if the

    State so favors minority races.”); see also, e.g., Page II, 2015 WL 3604029, at *9 (use of 55%

    BVAP floor to draw Virginia’s Congressional District 3 showed that race predominated); Clark v.

    Putnam Cnty., 293 F.3d 1261, 1267 (11th Cir. 2002) (statement by map-drawer that “her

    predominant consideration . . . was to maintain the core of the existing majority minority districts

    and strive toward a 60% black VAP” was evidence that race predominated); Beasley, 946 F.

    Supp. at 1206-07 (concluding that the map-drawers’ “insistence on minimum racial percentages

    in certain districts” was strong “evidence of racial gerrymandering”). This case is no different.

            Defendants will no doubt argue that Delegate Jones imposed the racial threshold solely to

    comply with the VRA. That may well be, but the point is irrelevant. Plaintiffs do not contend,

    and will not seek to prove, that Delegate Jones acted with racial animosity and such a showing is

    decidedly irrelevant and unnecessary for Plaintiffs to succeed. Even when acting in good faith

    and with the best of intentions, “[c]overed jurisdictions [do not have] carte blanche to engage in

    racial gerrymandering in the name of nonretrogression,” Shaw I, 509 U.S. at 655, and therefore a


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    “racially gerrymandered districting scheme” is “constitutionally suspect” even if “the reason for

    the racial classification is benign or the purpose remedial,” Shaw v. Hunt (“Shaw II”), 517 U.S.

    899, 904-05 (1996). Thus, just as the General Assembly’s use of a 55% BVAP threshold to draw

    a congressional district triggered strict scrutiny in Page II, so too its use of a 55% BVAP

    threshold to draw House districts triggers strict scrutiny here.

            3.         Given the Overwhelming Direct Evidence of the General Assembly’s Intent,
                       the Circumstantial Evidence is Far Less Important (But in Any Event is
                       Equally Compelling)

            As noted, the direct evidence of racial predominance is overwhelming, clear, and

    conclusive. The House’s official redistricting criteria exalt race above all other factors; Delegate

    Jones and other delegates repeatedly declared that race was their paramount concern in drawing

    the Challenged Districts; and Delegate Jones “relied heavily upon a mechanically numerical

    view as to what counts as forbidden retrogression” to configure the Challenged Districts.

    Alabama, 135 S. Ct. at 1273. Where, as here, the direct evidence leaves no doubt that race “was

    uppermost in the minds of Virginia’s legislators,” Page II, 2015 WL 3604029, at *8, that is the

    end of the inquiry. But, in any event, the available circumstantial evidence is equally compelling

    and confirms what the direct evidence conclusively establishes: that race was the General

    Assembly’s predominant consideration in drawing the Challenged Districts.

            4.         The Enacted Plan Created “Non-Compact and Oddly Shaped Districts
                       Beyond What Is Strictly Necessary to Avoid Retrogression”

            “In addition to [direct] evidence of legislative intent,” courts may “also consider the

    extent to which the [challenged] district boundaries manifest that legislative will.” Page II, 2015

    WL 3604029, at *10. Thus, “[e]vidence of a ‘highly irregular’ reapportionment plan ‘in which a

    State concentrated a dispersed minority population . . . by disregarding traditional districting




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    principles such as compactness, contiguity, and respect for political subdivisions’” may provide

    evidence of impermissible racial gerrymandering. Id. (quoting Shaw I, 509 U.S. at 646-47).

            Plaintiffs’ expert Professor Ansolabehere will explain how the General Assembly

    subordinated race-neutral redistricting principles to the dictates of a rigid racial quota. That

    testimony, which will be largely undisputed, will provide additional circumstantial evidence that

    race was the predominant consideration in the drawing of the Challenged Districts. See Page II,

    2015 WL 3604029, at *13 (finding that race predominated based in part on challenged district’s

    irregular shape, disregard for political boundaries, and other “inconsistencies with respect to the

    traditional districting criteria”).

            Defendants appear to argue that race could not have predominated because the districts at

    issue here are equally compact or more compact than districts rejected in earlier cases in Virginia

    and elsewhere. See Pl. Ex. 68 at 27:1-3 (Defendants’ counsel arguing that the districts “that are

    being attacked here look nothing like the plans which had been rejected by the Supreme Court in

    prior litigation”). There are at least two problems with such an argument.

            First, it simply fails to grasp the significance of compactness. In the absence of direct

    evidence of legislative intent, lack of compactness may provide circumstantial evidence that race

    predominated. See Shaw I, 509 U.S. at 646-47. In other words, “[s]uch circumstantial evidence is

    one factor that contributes to the overall conclusion that the district’s boundaries were drawn

    with a focus on race.” Page II, 2015 WL 3604029, at *11. That certainly does not mean,

    however, that Plaintiffs must show that the Challenged Districts are non-compact to establish

    that race predominated. See Alabama, 135 S. Ct. at 1267 (plaintiffs’ burden is to show, “either

    through circumstantial evidence . . . or more direct evidence going to legislative purpose,” that

    “race was the predominant factor”) (emphasis added) (internal quotation marks and citation



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    omitted). Thus, even if the Challenged Districts were in fact perfectly “compact” (which

    Plaintiffs most certainly dispute), that would hardly save them from constitutional challenge if

    drawn with race as the predominant consideration. It is the predominant purpose that subjects

    districts to strict scrutiny, not mere irregular shape. Once it is established that race did

    predominate (say, for example, by a legislator’s express admissions to that effect or the use of a

    “mechanical” racial threshold), then the a district’s shape becomes largely irrelevant.

            Here, Plaintiffs will show that the General Assembly reduced compactness and

    disregarded political boundaries in drawing the Challenged Districts, thus providing additional

    circumstantial evidence that race predominated. But given the overwhelming direct evidence on

    that score, there is no need to attempt to divine legislative intent from lines on a map. The

    General Assembly expressly said—in many ways, and on many occasions—that race was its

    predominant consideration. Given that “direct evidence going to legislative purpose,” academic

    disputes about compactness scores and compactness measurements are largely sideshows and

    should not consume inordinate amounts of time at trial.

            Second, Defendants’ argument fails on the merits. Defendants seem to believe that only

    extreme non-compactness may indicate racial gerrymandering. See Pl. Ex. 68, at 24:18-23

    (“We’re going to show the Court the various districts that had been rejected in prior Shaw-style

    litigation, and you’ll see that they all involve plans which have districts that, frankly, don’t look

    like districts. They don’t bear any resemblance to any notion of geography.”). Thus, Defendants’

    expert Thomas Hofeller devotes many pages of his expert report to the argument that the Enacted

    Plan complies with the compactness requirements of Virginia’s Constitution. He also tries to

    show that the compactness of the Enacted Plan compares favorably with redistricting plans in

    other states. But none of that is helpful. “To show that race predominated, Plaintiffs need not



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    establish that the legislature disregarded every traditional districting principle.” Page II, 2015

    WL 3604029, at *11. Moreover, “[i]rregularities in shape need not be so extreme as to make the

    district an outlier nationwide; courts simply consider a ‘highly irregular and geographically non-

    compact’ shape evidence of the predominance of race.” Id. at *15 (quoting Shaw II, 517 U.S. at

    905-06). Thus, much of the analysis Defendants apparently intend to offer will either be

    superfluous or flatly irrelevant.

    C.      Politics Did Not Outweigh Race

            It seems that Defendants will also argue that politics, not race, was the predominant

    consideration in the drawing of the Challenged Districts. See Pl. Ex. 68, at 29:1-5 (Defendants’

    counsel arguing that “[t]his plan was drawn for political purposes,” and that “the notion that race

    predominated simply flies in the face of reality”). That argument fails as well.

            First, to the extent that this defense amounts to a claim that the General Assembly

    purposely targeted White Democrats, it is nothing less than another admission that race was the

    General Assembly’s predominant consideration. See Pl. Ex. 68, at 28:21-24 (Defendants’

    counsel arguing that the “vast majority of the incumbents got reelected except for a few

    democratic white members lost. That’s the predominant purpose of the plan. We shouldn’t

    pretend anything else.”) (emphasis added). Racial gerrymandering, at the risk of stating the

    obvious, is impermissible.

            Second, the record simply does not support that politics was the aim. Again, there is

    clear, conclusive, and overwhelming evidence, both direct and circumstantial, that race was the

    most important factor in the configuration of the Challenged Districts. In contrast, nothing in the

    record suggests that politics was the predominant consideration. In fact, the record makes clear

    that political factors played a marginal role at best. For example:



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               The House Criteria expressly subordinate political considerations to racial
                considerations.

               Virginia’s Preclearance Submission makes clear that “partisan factors were present
                but muted in establishing new districts.” Pl. Ex. 44 at 12 (emphasis added).

               While the record is replete with statements about a rigid racial threshold, nothing in
                the record even hints at partisan thresholds, targets, or quotas.

               During the redistricting process, neither Delegate Jones nor his political allies
                emphasized politics. In fact, they downplayed politics. See, e.g., Pl. Ex. 17.

               Plaintiffs’ expert Professor Ansolabehere will testify that race is, by far, the most
                powerful predictor of which VTDs were placed in Challenged Districts, while
                partisan considerations are not.

    Thus, Defendants cannot hide behind post hoc, made-for-litigation arguments that politics

    overshadowed race. See Page II, 2015 WL 3604029, at *14(“While Defendants have offered

    post-hoc political justifications for the 2012 Plan in their briefs, neither the legislative history as

    a whole, nor the circumstantial evidence, supports that view to the extent they suggest.”).

            To be clear, Plaintiffs do not dispute that “partisan political considerations, as well as a

    desire to protect incumbents, played a role in drawing district lines. It would be remarkable if

    they did not.” Id. at *13 But race may be the predominant consideration even if a legislature’s

    redistricting process is not “purely race-based,” Bush, 517 U.S. at 959, and the fact that “the

    legislature addressed [political concerns need not] in any way refute the fact that race was the

    legislature’s predominant consideration,” Shaw II, 517 U.S. at 907. Here, even if politics played

    some role, it was at best a secondary role, and it mattered only after compliance with the

    inflexible and “nonnegotiable” mechanical 55% BVAP threshold.

    D.      The Challenged Districts Cannot Survive Strict Scrutiny

            Because race was a predominant factor in the General Assembly’s configuration of the

    Challenged Districts, Defendants “must demonstrate that [Virginia’s] districting legislation is



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    narrowly tailored to achieve a compelling interest.” Miller, 515 U.S. at 920. “[R]acial

    classifications are simply too pernicious to permit any but the most exact connection between

    justification and classification.” Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551

    U.S. 701, 720 (2007) (internal quotation marks and citation omitted). Defendants cannot begin to

    meet that exacting standard.

            1.         Defendants Cannot Show that the Challenged Districts Serve a Compelling
                       Interest

            Defendants will argue that the General Assembly’s alleged goal of complying with

    Section 5 of the VRA justified its use of a rigid racial threshold in drawing the Challenged

    Districts. Even if this Court were to disregard the intervening decision in Shelby County,

    Alabama v. Holder, 133 S. Ct. 2612 (2013),6 before compliance with Section 5 could possibly be

    a compelling interest, a defendant must show that advancing that interest was its “actual

    purpose,” Shaw II, 517 U.S. at 908 n.4, and that it had “a strong basis in evidence . . . for

    believing” that the districting decision at issue was “‘reasonably necessary under a constitutional

    reading and application of’” the VRA, id. at 911; Miller, 515 U.S. at 921. Here, Delegate Jones

    admittedly did not perform any analysis to determine whether a 55% BVAP threshold was

    required to avoid retrogression in any of the Challenged Districts, much less all of them. As a

    result, Defendants cannot credibly argue that they were serving a compelling interest when they

    formulated and applied that “nonnegotiable” mechanical racial threshold.




            6
              In Shelby County, the Court held that the coverage formula of the VRA was
    unconstitutional, and accordingly Section 5 no longer applied to certain jurisdictions, including
    Virginia. See id. at 2631. Because Virginia is no longer subject to Section 5, it is unclear whether
    Section 5 compliance can serve as a compelling interest that justifies Virginia’s race-based
    redistricting. Plaintiffs understand that this argument was rejected in Page II. See Page II, 2015
    WL 3604029, at *16 & n.27. But the Supreme Court has not yet decided “whether, given [Shelby
    County], continued compliance with § 5 remains a compelling interest.” Id.

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            2.         The General Assembly’s Use of Race Was Not Narrowly Tailored

            Even if the VRA remains a compelling interest, and even if Defendants could show that

    their rigid racial threshold advances that interest, Defendants cannot show that the “mechanically

    numerical” approach they chose was narrowly tailored. Alabama, 135 S. Ct. at 1273.

            In Alabama, the Supreme Court addressed a case much like this one. The Alabama

    legislature set out to redraw its House districts in compliance with the VRA. At the outset, the

    legislature determined that “it was required to maintain roughly the same black population

    percentage in existing majority-minority districts” in order to avoid retrogression. Id. But the

    legislature did not perform any analysis to determine whether maintaining those levels was

    necessary to preserve minorities’ ability to elect their candidates of choice. Instead, like the

    General Assembly in this case, the Alabama legislature simply “relied heavily upon a

    mechanically numerical view as to what counts as forbidden retrogression” without any evidence

    to support that view. Id. at 1273.

            The Supreme Court held that Alabama’s “mechanically numerical” approach was not

    narrowly tailored. In reaching that conclusion, it explained that a legislature must have a “strong

    basis in evidence in support of the (race-based) choice that it has made.” Id. at 1274 (emphasis

    added) (internal quotation marks and citation omitted). Alabama’s legislators, however, had no

    basis in evidence—let alone a strong basis—to believe that an inflexible racial floor was

    necessary. Nor was that surprising because, as the Supreme Court put it, Alabama’s legislators

    simply asked the “wrong question”:

            They asked: “How can we maintain present minority percentages in majority-
            minority districts?” But given § 5’s language, its purpose, the Justice Department
            Guidelines, and the relevant precedent, they should have asked: “To what extent
            must we preserve existing minority percentages in order to maintain the
            minority’s present ability to elect the candidate of its choice?” Asking the wrong
            question may well have led to the wrong answer.


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    Alabama, 135 S. Ct. at 1274.

            Here, like the legislature in Alabama, the General Assembly asked the wrong question.

    It should have asked: “‘To what extent must we preserve existing minority percentages [in each

    of the Challenged Districts] in order to maintain the minority’s present ability to elect the

    candidate of its choice?’” Id. And to answer that question, it should have performed—on a

    district-by-district basis—the sort of “functional analysis” outlined in the Department of Justice’s

    Section 5 guidance and cited favorably in Alabama. See id. at 1272 (explaining that the

    Department of Justice’s Section 5 guidance “state[s] specifically that the Department’s

    preclearance determinations are not based ‘on any predetermined or fixed demographic

    percentages. . . . Rather, in the Department’s view, this determination requires a functional

    analysis of the electoral behavior within the particular jurisdiction or election district [and]

    census data alone may not provide sufficient indicia of electoral behavior to make the requisite

    determination”); see also Pl. Ex. 9 (Department of Justice Section 5 guidance). As the District

    Court for the District of Columbia has explained:

            Section 5 requires a multi-factored, functional approach to gauge whether a
            redistricting plan will have the effect of denying or abridging minority citizens'
            ability to elect representatives of their choice. It does not lend itself to formalistic
            inquiry and complexity is inherent in the statute. The ability to elect can rarely be
            measured by a simple statistical yardstick[.]

    Texas v. United States, 831 F. Supp. 2d 244, 272 (D.D.C. 2011) (emphasis added). Thus, at the

    very least, the General Assembly and Delegate Jones were obligated to “take account of all

    significant circumstances” in evaluating the necessity of a 55% BVAP threshold. Alabama,

    135 S. Ct. at 1273.

            But that is precisely what they failed to do. In fact, as discussed above, Delegate Jones

    did not consider any potentially relevant information. He did not perform a statistical analysis of



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    racial voting patterns in the Challenged Districts (or any other sort of functional analysis); he did

    not review the Senate’s contemporaneous redistricting plan; he did not review potentially

    relevant electoral data from Virginia or other jurisdictions; and he did not review maps that had

    been precleared (or rejected) by DOJ.

            Plaintiffs acknowledge the Page II court’s passing observation that a racial bloc voting

    analysis [is not] always necessary to support a narrow tailoring argument. In this case, however,

    the General Assembly did not simply fail to conduct a racial bloc voting analysis. It failed to

    conduct any sort of analysis or make any sort of inquiry to establish the necessity of its overtly

    race-based redistricting decisions. Whatever else might be required to support a “narrow

    tailoring” argument, it most assuredly requires more than asking unnamed members of the

    “community” or sitting delegates what they wanted or what they thought necessary to ensure

    their own reelection. That is a far cry from the “strong basis in evidence” the Supreme Court

    requires to justify race-based decision making. Alabama, 135 S. Ct. at 1274. And to rule

    otherwise would all but eviscerate the Supreme Court’s repeated insistence that narrow tailoring

    for race-based redistricting must be justified by a “strong basis in evidence.”

            Here, Delegate Jones lacked a strong basis in evidence for his predetermined, across-the-

    board 55% BVAP threshold. See Alabama, 135 S. Ct. at 1273 (legislature’s “mechanically

    numerical” approach to redistricting was not narrowly tailored); Page II, 2015 WL 3604029 , at

    *16-17 (legislature’s 55% BVAP quota was not narrowly tailored); Beasley, 946 F. Supp. at

    1210 (same). And if there was any doubt on this score, it is put to rest by the illegal results that

    necessarily flowed from the 55% BVAP threshold. For example, in order to comply with the

    threshold, the General Assembly increased the BVAP in some Challenged Districts (e.g.,

    Challenged District 71) even though those districts had elected minorities’ candidates of choice



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    for years. As the Supreme Court has made clear, however, a plan that augments minority voting

    strength more than necessary is unconstitutional. See Shaw I, 509 U.S. at 655 (“A

    reapportionment plan would not be narrowly tailored to the goal of avoiding retrogression if the

    State went beyond what was reasonably necessary to avoid retrogression.”).

            In sum, the evidence that will be placed before this Court at trial will demonstrate, in

    short, that race was the General Assembly’s predominant purpose, and the General Assembly’s

    race-based redistricting was anything but narrowly tailored. The Challenged Districts are

    therefore unconstitutional, and all that remains to decide is the proper remedy.

    E.      This Court Should Impose an Immediate and Effective Remedy

            Plaintiffs respectfully submit that this Court should, following trial, promptly enter an

    immediate and effective remedy. Courts regularly exercise the “power . . . [either] to require

    valid reapportionment or to formulate a valid redistricting plan.” Scott v. Germano, 381 U.S.

    407, 409 (1965). If time allows, a court should give the appropriate legislative body an

    opportunity to enact a new plan that avoids the constitutional infirmities in the invalidated plan.

    See McDaniels v. Mehfoud, 702 F. Supp. 588, 596 (E.D. Va. 1988); Nathaniel Persily, When

    Judges Carve Democracies: A Primer on Court-Drawn Redistricting Plans, 73 Geo. Wash. L.

    Rev. 1131, 1133 (2005).

            As the Supreme Court has explained, however, “[a]lthough the legislative branch plays

    the primary role in . . . redistricting, our precedents recognize an important role for the courts

    when a districting plan violates the Constitution.” League of United Latin Am. Citizens v. Perry,

    548 U.S. 399, 415 (2006). In particular, where it is clear that the appropriate legislative body will

    not or cannot enact a valid plan in time, as when the “imminence of . . . [an] election makes

    [referral to the legislative branch] impractical,” then “it becomes the ‘unwelcome obligation’ of



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    the federal court to devise and impose a reapportionment plan pending later legislative action.”

    Wise v. Lipscomb, 437 U.S. 535, 540 (1978) (principal opinion) (internal citation omitted).

    F.      Plaintiffs Are Entitled to Reasonable Attorneys’ Fees and Costs

            Plaintiffs brought this lawsuit under 42 U.S.C. § 1983, and prevailing parties in § 1983

    actions “should ordinarily recover an attorney’s fee . . . .” Hensley v. Eckerhart, 461 U.S. 424,

    429 (1983) (internal quotation marks and citation omitted). Prevailing parties are also entitled to

    recover their expert fees. See 42 U.S.C. § 1973l(e). Plaintiffs request the opportunity—should

    they prevail—to demonstrate their attorneys’ fees, expert fees, and costs by post-trial motion.

                                          IV.     CONCLUSION

            For the foregoing reasons, Plaintiffs respectfully request that this Court invalidate

    Virginia House of Delegates districts 63, 69, 70, 71, 74, 75, 77, 80, 89, 90, 92, and 95 and ensure

    that constitutional districts are adopted for the upcoming House of Delegates elections.



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                                     CERTIFICATE OF SERVICE

            On June 19, 2015, I will electronically file the foregoing with the Clerk of Court using

    the CM/ECF system, which will then send a notification of such filing (NEF) to the following:

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